             Case 3:20-cv-00233-JWD-SDJ             Document 3        04/16/20 Page 1 of 1




                                     UNITEDSTATESDISTRICTCOURT
                                      MIDDLEDISTRICTOFLOUISIANA
                                          OFFICEOFTHECLERK
                                                    
MichaelL.McConnell                                                                Telephone:225Ͳ389Ͳ3500
ClerkofCourt                                                                       Facsimile:225Ͳ389Ͳ3501


                                             April16,2020
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MercedesHardyMontagnes
PromiseofJustice
PromiseofJustice
1024ElysianFields
7011
NewOrleans,LA70117       
                  
RE: 3:20ͲcvͲ00233ͲJWDͲSDJ
       Humphrey,etalv.LeBlanc
       
                                                     NOTICE
        
        AreviewoftherecordindicatesSarahChervinsky,islistedascoͲcounselfortheplaintiff,
BrianHumphrey.Ourrecordsindicatesheiscurrentlynotadmittedtopracticebeforethe
MiddleDistrictofLouisiana.Asaresult,shewillnotbeallowedtosignorelectronicallyfileany
pleadingsorappearincourtuntiladmitted.IfsheisamemberoftheLouisianaStateBar,
pleasehavehercompletetheattorneyadmissionpacketlocatedonourwebsiteat
https://www.lamd.uscourts.gov/BarAdmission.
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       Ifyouhaveanyquestions,pleasefeelfreetocalltheClerk’sOfficeat225Ͳ389Ͳ3500.
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                                                        Sincerely,

                                                 MichaelL.McConnell
                                                        ClerkofCourt
                                                               S
                                                        By:___________________________                    
                                                 DeputyClerk




                        777 FLORIDA STREET •SUITE 139 • BATON ROUGE, LA 70801-1712
